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                                  UNITED STATES COURT OF APPEALS
                                      FOR THE FOURTH CIRCUIT

                                            ___________________

                                                  No. 23-1774
                                          (1:18-cv-00957-CMH-TCB)
                                             ___________________

        UMG RECORDINGS, INC.; CAPITAL RECORDS, LLC; WARNER
        RECORDS INC., f/k/a Warner Bros. Records Inc.; ATLANTIC RECORDING
        CORPORATION; ELEKTRA ENTERTAINMENT GROUP, INC.; FUELED BY
        RAMEN LLC; NONESUCH RECORDS INC.; SONY MUSIC
        ENTERTAINMENT; SONY MUSIC ENTERTAINMENT US LATIN LLC;
        ARISTA RECORDS LLC; LAFACE RECORDS LLC; ZOMBA RECORDING
        LLC

               Plaintiffs - Appellees

        v.

        TOFIG KURBANOV

               Defendant - Appellant

        and

        DOES 1-10, d/b/a FLVTO.BIZ, a/k/a 2CONV.COM

               Defendants

                      ______________________________________________________

                            STIPULATION OF DISMISSAL PURSUANT TO
                        FEDERAL RULE OF APPELLATE PROCEDURE 42(b)
                      ______________________________________________________

               Pursuant to Federal Rule of Appellate Procedure 42(b), the parties hereby stipulate and

        agree that the above-captioned appeal is dismissed with prejudice. Each party shall bear its own

        costs. Defendant-Appellant is responsible for paying any Court fees that are due.




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        Dated: August 8, 2023

        Respectfully Submitted:

        Defendant - Appellant,

        By his attorney,


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        Plaintiffs – Appellees,

        By their attorney,

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